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                                   TRANSFERS TO FP + 1, LLC
                                   Date            Payment Amount
                                8/15/2016               $6,518.00
                                8/15/2016              $19,892.00
                                8/17/2016               $2,028.00
                                8/30/2016               $5,475.00
                                9/13/2016               $9,500.00
                                9/27/2016               $4,690.00
                                9/28/2016              $54,542.00
                                9/29/2016               $4,260.00
                                9/29/2016               $2,000.00
                                9/29/2016               $1,500.00
                                9/29/2016               $2,375.00
                                9/29/2016               $4,688.00
                                10/4/2016               $2,800.00
                                10/7/2016              $10,213.00
                                10/7/2016              $17,040.00
                                10/7/2016               $9,900.00
                                10/7/2016               $5,200.00
                                10/7/2016               $7,200.00
                               10/14/2016               $4,413.00
                               10/14/2016              $27,638.00
                               10/14/2016              $30,044.00
                               10/17/2016               $5,750.00
                               10/21/2016               $2,205.00
                               10/21/2016                 $525.00
                               10/21/2016               $5,875.00
                               10/21/2016               $4,275.00
                               10/21/2016                 $936.00
                               10/21/2016              $48,422.00
                               10/21/2016              $47,050.00
                               10/21/2016              $16,759.00
                               10/21/2016               $3,200.00
                               10/21/2016               $2,000.00
                               10/21/2016               $7,600.00
                               10/21/2016               $7,100.00
                               10/21/2016               $7,250.00
                               10/21/2016               $5,425.00
                               10/21/2016               $5,000.00
                               10/21/2016               $1,177.00
                               10/24/2016               $4,292.00
                               10/24/2016              $13,750.00
                               10/24/2016              $31,382.00
                               10/24/2016                 $520.00
                               10/24/2016               $9,750.00
                               10/24/2016                 $704.00
                               10/24/2016               $1,300.00
                               10/24/2016               $7,384.00

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                                   TRANSFERS TO FP + 1, LLC
                                  Date             Payment Amount
                               10/24/2016              $25,042.00
                               10/24/2016               $1,850.00
                               10/24/2016               $6,300.00
                               10/24/2016               $2,350.00
                               10/24/2016               $8,850.00
                               10/27/2016               $4,180.00
                               10/27/2016               $4,368.00
                               10/27/2016              $84,650.00
                               10/27/2016               $5,259.00
                               10/27/2016               $5,425.00
                               10/27/2016               $7,250.00
                               10/27/2016              $15,750.00
                               10/27/2016              $80,358.00
                               10/27/2016               $7,600.00
                               10/27/2016               $5,983.00
                               10/27/2016               $2,300.00
                               10/27/2016               $2,700.00
                               10/27/2016               $1,683.00
                               10/27/2016               $4,550.00
                               10/27/2016                 $540.00
                                11/1/2016               $4,805.00
                                11/1/2016               $6,530.00
                                11/1/2016               $7,200.00
                                11/1/2016              $40,240.00
                                11/1/2016               $3,775.00
                                11/1/2016               $1,380.00
                                11/1/2016               $1,625.00
                                11/1/2016               $1,300.00
                                11/1/2016                 $200.00
                                11/1/2016               $4,590.00
                                11/1/2016               $5,500.00
                                11/1/2016               $5,540.00
                                11/1/2016               $5,600.00
                                11/1/2016               $6,715.00
                                11/1/2016               $8,115.00
                                11/1/2016               $1,100.00
                                11/1/2016               $1,710.00
                                11/1/2016               $1,575.00
                                11/1/2016               $2,436.00
                                11/1/2016               $3,240.00
                                11/1/2016              $16,500.00
                                11/1/2016               $7,500.00
                                11/1/2016              $12,028.00
                                11/1/2016              $16,759.00
                                11/1/2016               $3,125.00
                                11/1/2016              $11,500.00

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                                   TRANSFERS TO FP + 1, LLC
                                  Date             Payment Amount
                                11/1/2016               $1,250.00
                                11/1/2016               $2,813.00
                                11/1/2016               $6,920.00
                                11/3/2016              $14,850.00
                                11/3/2016                 $900.00
                                11/3/2016               $9,000.00
                                11/3/2016               $2,846.00
                                11/3/2016               $1,440.00
                                11/3/2016               $1,200.00
                                11/3/2016              $11,462.00
                                11/3/2016               $3,080.00
                                11/3/2016               $4,500.00
                                11/3/2016                 $975.00
                                11/3/2016               $2,358.00
                                11/3/2016              $18,900.00
                                11/3/2016              $25,000.00
                                11/3/2016               $1,440.00
                                11/3/2016                 $980.00
                                11/3/2016               $8,117.00
                                11/3/2016              $11,470.00
                                11/3/2016              $12,920.00
                                11/3/2016               $3,000.00
                                11/3/2016               $3,120.00
                                11/3/2016               $3,600.00
                                11/3/2016               $2,000.00
                                11/3/2016                 $840.00
                                11/3/2016               $1,365.00
                                11/3/2016               $1,400.00
                                11/3/2016               $1,438.00
                                11/3/2016               $1,875.00
                                11/3/2016               $2,280.00
                                11/3/2016               $3,450.00
                                11/4/2016              $56,850.00
                                11/4/2016               $1,800.00
                                11/4/2016               $2,300.00
                                11/4/2016               $3,900.00
                                11/4/2016               $1,020.00
                                11/4/2016               $2,550.00
                                11/4/2016               $1,800.00
                                11/4/2016              $10,270.00
                                11/4/2016              $12,233.00
                                11/4/2016               $5,156.00
                                11/4/2016              $13,962.00
                                11/4/2016              $13,560.00
                                11/4/2016              $11,600.00
                                11/4/2016               $4,750.00

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                                   TRANSFERS TO FP + 1, LLC
                                  Date             Payment Amount
                                11/4/2016              $59,788.00
                                11/9/2016              $14,403.00
                                11/9/2016              $34,125.00
                                11/9/2016              $44,331.00
                                11/9/2016               $1,050.00
                                11/9/2016              $11,250.00
                                11/9/2016                 $588.00
                                11/9/2016               $1,008.00
                                11/9/2016               $1,176.00
                                11/9/2016              $13,054.00
                                11/9/2016               $7,625.00
                                11/9/2016              $16,788.00
                                11/9/2016               $7,605.00
                                11/9/2016               $4,320.00
                                11/9/2016               $5,000.00
                                11/9/2016              $31,876.00
                                11/9/2016              $20,459.00
                                11/9/2016              $65,515.00
                                11/9/2016                 $840.00
                                11/9/2016               $6,724.00
                                11/9/2016               $4,500.00
                                11/9/2016               $3,600.00
                                11/9/2016               $3,500.00
                                11/9/2016               $1,500.00
                                11/9/2016               $7,280.00
                                11/9/2016              $46,375.00
                                11/9/2016              $10,168.00
                                11/9/2016               $7,933.00
                                11/9/2016                 $660.00
                               11/10/2016               $1,200.00
                               11/10/2016               $1,440.00
                               11/10/2016              $12,480.00
                               11/10/2016              $11,400.00
                               11/10/2016              $15,760.00
                               11/10/2016               $7,075.00
                               11/10/2016              $20,000.00
                               11/10/2016              $12,608.00
                               11/10/2016               $7,000.00
                               11/10/2016              $18,403.00
                               11/10/2016               $1,500.00
                               11/10/2016               $1,680.00
                               11/10/2016                 $840.00
                               11/10/2016              $13,500.00
                               11/10/2016               $5,840.00
                               11/10/2016               $2,000.00
                               11/15/2016             $100,715.00

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                                   TRANSFERS TO FP + 1, LLC
                                  Date             Payment Amount
                               11/15/2016               $3,840.00
                               11/15/2016               $4,200.00
                               11/15/2016               $1,200.00
                               11/15/2016                 $420.00
                               11/15/2016               $1,420.00
                               11/15/2016                 $625.00
                               11/15/2016                 $840.00
                               11/15/2016               $8,840.00
                               11/15/2016              $11,712.00
                               11/15/2016              $22,592.00
                               11/15/2016               $5,800.00
                               11/15/2016              $32,175.00
                               11/15/2016              $59,325.00
                               11/15/2016              $13,440.00
                               11/15/2016               $2,460.00
                               11/15/2016               $7,520.00
                               11/15/2016               $7,360.00
                               11/15/2016               $3,188.00
                               11/15/2016               $1,900.00
                               11/15/2016               $2,600.00
                               11/15/2016                 $840.00
                               11/15/2016               $1,750.00
                               11/15/2016               $1,500.00
                               11/15/2016               $2,000.00
                               11/22/2016               $3,450.00
                               11/22/2016               $5,000.00
                               11/22/2016              $35,434.00
                               11/22/2016              $38,200.00
                               11/22/2016               $2,775.00
                               11/22/2016              $16,138.00
                               11/22/2016               $1,406.00
                               11/22/2016                 $420.00
                               11/22/2016                 $710.00
                               11/22/2016                 $630.00
                               11/22/2016                 $284.00
                               11/22/2016               $6,250.00
                               11/22/2016              $14,450.00
                               11/22/2016              $37,031.00
                               11/29/2016               $2,039.00
                               11/29/2016               $2,746.00
                               11/29/2016               $6,177.00
                               11/29/2016               $3,000.00
                               11/29/2016               $9,412.00
                               11/29/2016               $1,075.00
                               11/29/2016               $7,250.00
                                12/6/2016               $5,400.00

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                                   TRANSFERS TO FP + 1, LLC
                                   Date            Payment Amount
                                12/6/2016               $7,150.00
                                12/6/2016               $3,600.00
                                12/6/2016               $3,300.00
                                12/6/2016               $2,941.00
                                12/6/2016               $1,632.00
                                12/6/2016               $4,000.00
                                12/6/2016               $9,900.00
                                12/6/2016                 $600.00
                                12/6/2016               $1,800.00
                                12/6/2016               $1,260.00
                                12/6/2016               $2,250.00
                                12/6/2016               $8,600.00
                                12/6/2016              $10,500.00
                               12/12/2016              $20,767.00
                               12/12/2016              $25,638.00
                               12/12/2016              $10,500.00
                               12/12/2016               $1,650.00
                               12/12/2016               $2,775.00
                               12/12/2016             $120,200.00
                               12/12/2016              $27,000.00
                               12/12/2016              $11,400.00
                               12/12/2016              $15,000.00
                               12/12/2016              $45,325.00
                               12/12/2016              $15,580.00
                               12/12/2016               $3,600.00
                               12/12/2016               $4,381.00
                               12/12/2016               $4,000.00
                               12/12/2016              $10,500.00
                               12/12/2016             $127,667.00
                               12/12/2016             $125,088.00
                               12/12/2016             $115,900.00
                                1/10/2017               $1,420.00
                                1/10/2017               $1,250.00
                                1/10/2017               $5,600.00
                                1/10/2017               $1,000.00
                                1/10/2017                 $562.00
                                1/10/2017                 $647.00
                                1/10/2017               $6,035.00
                                1/10/2017               $2,059.00
                                1/10/2017               $5,000.00
                                1/10/2017                 $825.00
                                1/10/2017               $6,550.00
                                1/10/2017               $3,353.00
                                1/10/2017               $4,706.00
                                1/10/2017               $1,250.00
                                1/10/2017               $3,360.00

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                                   TRANSFERS TO FP + 1, LLC
                                   Date            Payment Amount
                                1/23/2017                 $900.00
                                1/23/2017               $4,500.00
                                1/23/2017               $2,764.00
                                1/23/2017               $6,800.00
                                1/23/2017               $3,485.00




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